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       Exhibit 145
   (Filed Under Seal)
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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS




In re EPIPEN (EPINEPHRINE                     CASE No. 2:17-md-2785
INJECTION, USP) MARKETING, SALES              CASE No. 2:17-cv-2452
PRACTICES AND ANTITRUST
LITIGATION


SANOFI-AVENTIS US, LLC,

     Plaintiff,
V.

MYLAN INC.; and
MYLAN SPECIALTY, L.P .,

     Defendants.




                              EXPERT REPORT OF
                                 GARY ZIEZIULA




              !?(kt�-r J�,
Dated February 4, 2019


Signature:
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Appendix A: Curriculum Vitae
Appendix B: List of Documents Considered




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A. Qualifications
My name is Gary Zieziula. I am a recently retired pharmaceutical executive with over
40 years of experience in the pharmaceutical industry. I began my career as a pharmaceutical
sales representative in 1977 after graduating from college.

I advanced my career in the 1980s and 1990s, taking positions of increasing responsibility
including district sales manager, product manager, senior customer manager, senior director
marketing, executive director business development, vice president sales and account
management, vice president managed care sales and marketing. As a district sales manager I
was responsible for ensuring that the sales representatives within my geography were abiding by
the rules and regulations that govern promotional practices, and that they were properly
executing the marketing strategy by delivering precise approved messaging to targeted
physicians. In the several marketing roles that I have had over the years, it was my responsibility
to set the strategy for brands on the market, and for the launch of new brands. While in the
marketing roles listed above, I have launched nine different brands in multiple therapeutic areas.
It is one of the most time consuming and challenging responsibilities for a brand team and for
members of the pharmaceutical company’s leadership team. You only get one chance to get it
right, so any product that is in pre-launch phase gets significant attention throughout the
organization.

In 2001, I joined Roche Laboratories and was elevated to the position of Head of Commercial
Operations, Specialty Care. I then became the Managing Director of Greece (expat). I have
been at EMD Serono for the last five years, the first two as Chief Commercial Officer and the
last three as President and Managing Director. In this capacity, I had full P&L responsibility. I
was also responsible for ensuring that sales and marketing personnel were adhering to the rules
and regulations governing promotional practices and for ensuring an effective compliance
program. As the President and Managing Director, I also felt that it was my responsibility, as it
is for senior leadership at all pharmaceutical companies, to set the right tone from the top on
matters related to promotional practices and the culture of the organization.

Attached as Appendix A is my current CV. In the past four years, I have not testified as an
expert witness at trial or in a deposition.


B. Scope of Assignment and Summary of Opinions
I have been retained by the law firm Robbins, Russell, Englert, Orseck, Untereiner & Sauber,
LLP, counsel for Mylan, in the lawsuit brought by Sanofi against Mylan concerning Mylan’s
marketing and sale of the EpiPen® Auto-injector (“EpiPen”) and Sanofi’s marketing and sale of
its competing product Auvi-Q® (“Auvi-Q”). I have reviewed Sanofi’s complaint, Mylan’s
Answer and Counterclaims against Sanofi, and numerous other documents produced by the
parties. A full list of the documents considered in preparing my report is attached as
Appendix B.


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At this stage, I have been asked by counsel for Mylan to offer my opinion, based on my
experience in the industry generally, and in pharmaceutical sales and marketing in particular,
concerning the promotional and marketing efforts undertaken by Sanofi when it introduced
Auvi-Q into the U.S. market. My opinions are based on my review of the materials provided to
me by counsel, and on my training and 40 years of experience in the pharmaceutical industry. I
am being compensated at a rate of $350 per hour for my consultation and report-writing work
and $500 per hour for deposition and trial testimony in this matter. My compensation is not
dependent on the opinions offered or the outcome of this matter.

In summary, it is my opinion, as explained in this report, that Sanofi made promotional claims to
payers, physicians, and consumers when marketing Auvi-Q that would not be consistent with
industry best practices, lack the substantiation required by regulatory standards, and are at odds
with the data that Sanofi actually possessed. These marketing messages compared Auvi-Q to
Mylan’s EpiPen product, suggested that Auvi-Q was the new EpiPen, and that Auvi-Q was a
better device which patients preferred. In my experience, the use of these types of misleading
comparative messages in pharmaceutical advertising can have a significant impact on payers,
prescribing physicians, and consumers’ purchasing decisions. In addition, the prevalence of
these advertising messages demonstrates that they were widespread in the marketplace, and that
they were either approved by Sanofi, or at least that Sanofi failed to put proper controls in place
to prevent them.


C. Analysis and Opinions
       i.      Unsupported Comparative Claims About Patient Preference
I believe that Sanofi’s field personnel have made comparative claims and preference claims on
Sanofi’s Auvi-Q versus Mylan’s EpiPen without the appropriate data to substantiate those
claims. My experience over the years is that these types of comparative and preference claims
can have a significant impact on how physicians, payers and patients make decisions on which
products to use. For that reason, pharmaceutical companies are required to complete well
controlled, substantial head to head studies, comparing one product versus another to make
comparative claims. These requirements help to ensure that consumers are not mislead or
confused by unsupported claims about a product. Over the years I have been involved in the
decision-making process of determining if a head to head trial was the right strategy for a
product in Phase III development.
I have reviewed the testimony of James Parker, Senior Director of Regulatory Affairs at Sanofi
from 2010 through 2015, and corresponding exhibits. Mr. Parker explained that




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                                                                                          Over
the many years that I have been in the pharmaceutical industry, sales representatives delivering
product features and benefits messages has been the most effective way to convince physicians
to prescribe a product, and


Third, the broad comparative claims for Sanofi’s Auvi-Q as being preferred by patients to
Mylan’s EpiPen appear at all levels of the organization. Most notably, in a press quote at the
time of the launch of Auvi-Q in the U.S., the President of North America Anne Whitaker
included a comparative claim in the press quote saying that “Auvi-Q is more patient friendly
than Mylan’s rival product EpiPen.” 14 In my experience, published quotes on the launch of a
new product from the President of the pharmaceutical company typically get broad distribution
throughout the company including to all field-based personnel. It is especially important that the
most senior leader of any pharmaceutical company set the right tone and not make comparative
claims when there is not sufficient data to support them. The press quote by the President of
North America for Sanofi is likely a contributing factor as to why there were many examples of
sales representatives and account managers throughout the organization who made comparative
claims to physicians, payers and patients on Sanofi’s Auvi-Q versus Mylan’s EpiPen.
Fourth, it is significant to me that




11
  SAN-EPI-0032713 (Sanofi Auvi-Q Message Recall Tracker Report (W2 2013) (October 2013) at 27-
28; SAN-EPI-0277608 (Auvi-Q Message Recall Study W2’13 - Raw verbatim data for open-ended
questions); SAN-EPI-0220969 (Sanofi Auvi-Q R3M_Dec14 to R3M_Mar15.xlsx).
12
     SAN-EPI-0091515 (Physician ATU Tracking Market Research Final Report June 18, 2014) at 79.
13
 SAN-EPI-0468859 (Auvi-Q Brand Impact Analysis December 2014), at 15; SAN-EPI-0083095 (Auvi-
Q Brand Impact Analysis March 2015), at 13-17.
14
     MYEP01268235 (January 28, 2013 Bloomberg Article).
15
     Wade Ex. 6 (K. Wade email to United).
16
     SAN-EPI-0075044 (Email re: WellPoint Auvi-Q Slides for meeting).


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                                                            18



The fact that this phrase has come up multiple times with different customers and in a variety of
settings indicates that it was well known by the brand team. Whether or not this phrase was
formally approved by the company as a message for field use, it worked its way to different parts
of the company, which suggests it was being used in sales training meetings or informal
discussions with the brand team about the product. Such meetings and discussions are a vital
part of setting the tone for marketing the brand.
Because these comparative claims that Sanofi made for Auvi-Q versus EpiPen were not
supported by the kind of data the FDA requires to make such claims, they were not in line with
industry best practices. In my opinion


                                                                      The fact that patient
preference messaging was broadly used indicates that the company did not set the tone at the top
that, in my experience, is necessary to ensure employees to do not overstep the line and engage
in impermissible and misleading marketing.
          ii.     Other Comparative Claims
The documents I reviewed show that Sanofi made other claims in its marketing of Auvi-Q that
compared the product to EpiPen, either directly or by suggestion.
First, Sanofi made claims on its website that “2 Large Surveys Showed That Most At-Risk
Patients Do Not Always Carry An EAI.” 19



These claims were based on




17
     SAN-EPI-0522279; PS0217604

18
  SAN-EPI-0227361, at -0227390; SAN-EPI-1207543, at -1207543, -1207548; SAN-EPI-1207556,
at -1207556 (handwritten notes).
19
     SAN-EPI-1207543 (FDA letter to Sanofi).
20

21
  SAN-EPI-1207543 (FDA letter to Sanofi); SAN-EPI-1207552 (EAI Consumer Segmentation Research
Final Report, November 2010).


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                                                                                    Results like
this could be used to support a number of statements. During my tenure in the industry, I often
reviewed market research studies to assist in assessing the most appropriate take-away message.




And it appears based on the evidence I reviewed that Sanofi sales representatives used this
interpretation as a core part of their messaging.
                   As noted above, ATUs are useful sources of information about the messages
being conveyed by sales representatives in the field to physicians.




Second,




22
  SAN-EPI-1207543 (FDA letter to Sanofi); SAN-EPI-1217191 (EAI Consumer Buying Process, July
2011).
23
  SAN-EPI-0095078 (Sanofi Auvi-Q Message Recall Tracker Report (W1 2013) (April 2013) at 7, 13-
14.
24
     SAN-EPI-0032713 (Sanofi Auvi-Q Message Recall Tracker Report (W2 2013) (October 2013) at 11.
25
  SAN-EPI-0277608 (Auvi-Q Message Recall Study W2’13 - Raw verbatim data for open-ended
questions).
26
                                                               ; SAN-EPI-0095078 (Sanofi Auvi-Q
Message Recall Tracker Report (W1 2013) (April 2013), at 15.


                                                  9
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          iv.    Unfair Competitive Conduct in the Form of Kickbacks
I have seen evidence of an additional serious matter,




                                         I would be shocked if that is true, and I believe that it
would not be a good reflection on the culture that existed at Sanofi at that time. In every
company that I have worked for in a leadership role, any representative that was engaging in the
behavior of paying for prescriptions would have been terminated, as these forms of kickbacks are
clearly against the law and must be strongly discouraged.




38
 SAN-EPI-0607553 (2014 Auvi-Q Search Keyword Tiers); SAN-EPI-0607088 (2013 SEM Strategy and
Goals).
39
     SAN-EPI-0584372 (Auvi-Q Consumer July 2014 Report) at 7.
40



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                            Appendix A
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                            Appendix B
          Documents Considered During Preparation of Report

Pleadings
Sanofi’s Complaint
Mylan’s Answer and Counterclaims

Deposition Transcripts and Exhibits
Transcript of 30(b)(6) Deposition of Jay York
Transcript of Deposition of James Parker and Exhibits 1-10
Transcript of 30(b)(6) Deposition of Lorine Harr
Transcript of 30(b)(6) Deposition of Saira Jan and Exhibits 4-5
Transcript of Deposition of Keith Wade and Exhibit 6
Etemad Ex. 30 (EAI 00027790)
Works Ex. 10 (SAN-EPI-0075161)

Bates Stamped Documents
ANTH-EPI03662
CIGNA_00478
Horizon00009478
Horizon00013404
KALEO-00006989
KALEO-00022744
KFHP-005893
MedImpact_0007817
MYEP000677384
MYEP00107915
MYEP00107916
MYEP00127706
MYEP00127707
MYEP00127708
MYEP00127709
MYEP00127710
MYEP00127711
MYEP00127712
MYEP00127713
MYEP00127714
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MYEP00127721
MYEP00127722

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MYEP00127723
MYEP00127724
MYEP00127725
MYEP00127726
MYEP00127727
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MYEP00127729
MYEP00127730
MYEP00127731
MYEP00127732
MYEP00127737
MYEP00127738
MYEP00127739
MYEP00127740
MYEP00292998
MYEP00323845
MYEP00323846
MYEP00323856
MYEP00323868
MYEP00323869
MYEP00550556
MYEP00550557
MYEP00556700
MYEP00567786
MYEP00567788
MYEP00717963
MYEP00716962
MYEP00716966
MYEP00798486
MYEP01186100
MYEP01186102
MYEP01211788
MYEP01211792
MYEP01211794
MYEP01211794
MYEP01211811
MYEP01268235
MYEP01319592
PS0063339
PS0063340
PS0209703
PS0217604
SAN-EPI-0032713
SAN-EPI-0057752
SAN-EPI-0060922
SAN-EPI-0060923

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SAN-EPI-0069127
SAN-EPI-0075044
SAN-EPI-0078858
SAN-EPI-0080704
SAN-EPI-0081008
SAN-EPI-0082989
SAN-EPI-0083095
SAN-EPI-0083237
SAN-EPI-0083247
SAN-EPI-0087111
SAN-EPI-0087325
SAN-EPI-0088510
SAN-EPI-0091515
SAN-EPI-0095078
SAN-EPI-0102697
SAN-EPI-0148365
SAN-EPI-0148375
SAN-EPI-0158511
SAN-EPI-0197629
SAN-EPI-0200861
SAN-EPI-0210391
SAN-EPI-0210605
SAN-EPI-0211693
SAN-EPI-0213952
SAN-EPI-0220969
SAN-EPI-0227361
SAN-EPI-0238962
SAN-EPI-0259092
SAN-EPI-0265085
SAN-EPI-0272399
SAN-EPI-0277215
SAN-EPI-0277608
SAN-EPI-0279259
SAN-EPI-0297041
SAN-EPI-0297237
SAN-EPI-0305836
SAN-EPI-0331691
SAN-EPI-0467641
SAN-EPI-0468859
SAN-EPI-0474016
SAN-EPI-0505644
SAN-EPI-0505645
SAN-EPI-0505646
SAN-EPI-0505648
SAN-EPI-0522279
SAN-EPI-0584372

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SAN-EPI-0591672
SAN-EPI-0604949
SAN-EPI-0607088
SAN-EPI-0607552
SAN-EPI-0607553
SAN-EPI-0607553
SAN-EPI-0607554
SAN-EPI-0607555
SAN-EPI-0607556
SAN-EPI-0661153
SAN-EPI-0661155
SAN-EPI-0661172
SAN-EPI-0661192
SAN-EPI-0661193
SAN-EPI-0661198
SAN-EPI-0661228
SAN-EPI-0661229
SAN-EPI-0688814
SAN-EPI-0705748
SAN-EPI-0764574
SAN-EPI-0764575
SAN-EPI-0780155
SAN-EPI-0928169
SAN-EPI-0937195
SAN-EPI-0937197
SAN-EPI-0937198
SAN-EPI-0937199
SAN-EPI-0937200
SAN-EPI-0937201
SAN-EPI-0937202
SAN-EPI-0942591
SAN-EPI-1031769
SAN-EPI-1148329
SAN-EPI-1158291
SAN-EPI-1207542
SAN-EPI-1207599
SAN-EPI-1212218
SAN-EPI-1214286
SAN-EPI-1214288
SAN-EPI-1214294
SAN-EPI-1214295
SAN-EPI-1214301
SAN-EPI-1217191
SAN-EPI-1221350
SAN-EPI-1221352
SAN-EPI-1223834

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SAN-EPI-1223837
SAN-EPI-1223839


Other
http://products.sanofi.ca/en/anaphylaxis-survey.Pdf
Internet Archive - Frequently Asked Questions About Auvi-Q™ (epinephrine injection, USP)
December 11, 2012 email from L. Garces re: Auvi-Q rep (Abilene)
Declaration of Regina Garcia




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